    Case 1-09-43576-ess   Doc 630-2   Filed 01/28/14   Entered 01/28/14 15:37:44




                                  EXHIBIT B

                            FLAXER DECLARATION




1934816.1
                                                                  Case 1-09-43576-ess     Doc 630-2     Filed 01/28/14         Entered 01/28/14 15:37:44




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
In re                                                                                                                             Chapter 11

SOUTH SIDE HOUSE LLC,                                                                                                             Case No. 09-43576 (ESS)

                                                                                         Debtor.




                                                                                                                          -X
---------------------------------------------------------------
                                                                                                          -
                                                                                                              -
                                                                                                                  -
                                                                                                                      -
                                                                                  DECLARATION OF JONATHAN L. FLAXER


                                                                    JONATHAN L. FLAXER, pursuant to 28 U.S.C. §1746, hereby deposes and says:

                                                                         Iam the duly appointed chapter 11 trustee for South Side House LLC (the

"Debtor") and am familiar with the matters set forth herein based upon my investigation to date,

and the investigation of my proposed professionals to date, of the affairs of the Debtor.

                                                                    2.    Isubmit this declaration in support of the Emergency Application (the

"Emergency Auplication") for an order authorizing me (a) to enter into a management

agreement (the "Management Agreement") with PRC Management Corp. ("PRC") for

management of the property located at 98-116 South Fourth Street, Brooklyn, New York 11249

(the "Pro e                                                               "), and (b) rejecting any management agreement that may exist between South

Side Associates ("SSA") and the Debtor.

A.                                                                  Events Preceding My Appointment

                                                                    3.    Upon information and belief, Menachem "Max" Stark ("Stark") and Israel "Sam"

Perlmutter ("Perlmutter") were the only two members of the Debtor, and Stark was the

Debtor's principal manager.

                                                                    4.    According to various news articles, on or about January 2, 2014, Stark was

                     abducted, and on or about January 3, 2014, Stark was discovered deceased.




                                         1934816.1
     Case 1-09-43576-ess         Doc 630-2     Filed 01/28/14    Entered 01/28/14 15:37:44




        5.        On January 9, 2014, the Court granted the motion by German American Credit

Corporation ("GACC") to compel the Debtor's counsel to produce certain bank account

information.

        6.        On January 14, 2014, GACC filed a motion to compel production of documents

from several additional parties.

        7.        As stated, at a hearing held on January 15, 2014, on GACC's motion, the Office

of the United States Trustee made an oral motion for the appointment of a Chapter 11 trustee

followed by an application to appoint Jonathan L. Flaxer as trustee, which was granted on

January 17, 2014.

B.      My Initial Investigation

            8.    In the limited time sinceI was appointed,Ihave reviewed certain documents that

demonstrate that at least $1.7 million has been improperly taken from the Debtor's DIP account,

#7047203427. It also appears that the copies of Capital One bank statements for the DIP account

attached to the Debtor's Monthly Operating Reports may have been tampered with to conceal the

diversion.

            9.    Additionally, the amount in the Debtor in Possession Security Deposit Account is

approximately $3,500. Considering the number of units in the building and the rent roll, the

amount in the security deposit account should be well in excess of $200,000. Thus,Ihave

reason to believe that further monies have been misappropriated.

C.          Current Pronerty Manager (SSA)

            10.   Prior to my appointment, SSA had been functioning as the Debtor's property

manager at no charge to the Estate. Ido not know whether there is a formal written contract

between SSA and the Debtor. On information and belief, an insider, or similar type of close



                                                  2
1934816.1
     Case 1-09-43576-ess             Doc 630-2     Filed 01/28/14    Entered 01/28/14 15:37:44




relationship, exist or existed among SSA, Stark and/or Perlmutter. After my appointment,Itried

to contact representatives of SSA in order to inquire about the Debtor's affairs. SSA did not

respond even on a limited basis until January 22, 2014, and since then SSA only communicates

through counsel. Based on the foregoing,Ibelieve that it is urgent that SSA be replaced with an

independent property manager immediately.

D.      Replacement Property Manager (PRC)

            11.      Following my appointment,Iobtained the names of potential property managers

from several sources including my proposed real estate advisor GA Keen Realty. Iobtained

written proposals and references from three property management firms including PRC. I've

concluded that PRC is highly qualified and made the most financially advantageous proposal for

the Estate. A summary of PRC's qualifications is attached to the Emergency Application. In the

past, my counsel, Golenbock Eiseman Assor Bell & Peskoe LLP, represented two entities, 2409

Broadway Associates and Columbia Place Associates, that are affiliates of PRC. In no year has

such work represented more than .l% of the firm's revenues.

            12.      The following is a short summary of certain aspects of the Management

Agreement. This summary is qualified in its entirety by the Management Agreement itself In

the event of any discrepancy between this summary and the Management Agreement, the

Management Agreement shall control:

                  • Duties. PRC shall perform all services with respect to the Property as are

                     customary in the industry including collecting rents, maintaining books and

                     records, paying expenses of the Property, and maintaining statements of receipts

                     and disbursements for the Property.




                                                      3
1934816.1
     Case 1-09-43576-ess              Doc 630-2     Filed 01/28/14    Entered 01/28/14 15:37:44




                  • Term. Five years terminable without cause by either party on 90-days written

                      notice.

                  • Operating Account. PRC will deposit all rent collections into a segregated

                      operating account at JP Morgan Chase bank. At my request, excess funds will be

                      transferred to the Estate account thatIam maintaining, and only signatories

                      approved by me will be authorized to write checks on the PRC operating account.

                  •   Small Settlements. PRC will be permitted to settle disputes with tenants without

                      Bankruptcy Court or my approval if the dispute is over an amount less than

                      $2,000.

                  • Insurance. PRC will be required to maintain liability and other insurance in the

                      amount of $2 million per occurrence.

                  • Indemnities. PRC andIshall mutually indemnify each other.

                  • Management Fee. Greater of $8,000 per month or 2.75% of gross rents collected

                      on a monthly basis.

            13.       Irespectfully request that the Court authorize me to retain PRC in accordance

with the Management Agreement and to reject any executory contracts between the Debtor and

SSA.

            14.       In the instant case, both the decision to enter into the Management Agreement

with PRC and to reject any management or similar agreement with SSA satisfy the business

judgment test. Based upon the circumstances set forth above, including the unavailability of any

SSA employee with whomIcan communicate, the rejection of the agreement with SSA is a

sound exercise of my business judgment. Further,Ihave undertaken sufficient due diligence

with respect to PRC, particularly given the compressed time frame within whichIneeded to



                                                       4
1934816.1
     Case 1-09-43576-ess         Doc 630-2     Filed 01/28/14     Entered 01/28/14 15:37:44




operate. For the reasons described above, the engagement of PRC is also a sound exercise of my

business judgment and should be approved.

            15.   Iseek a hearing later this week on this Emergency Motion even though the Court

has previously scheduled a hearing on other matters for February 4, 2014. Rents will be due on

February 1, 2014. Unless PRC is approved as property manager this week, SSA, not PRC, will

be responsible for collecting rents that are due on February 1, 2014. Therefore, in light of the

circumstances described above,Ibelieve it is imperative that PRC be installed as property

manager on or prior to February 1, 2014.

        I declare under penalty of perjury that the foregoing is true and correct.

            Executed on January 27, 2014, at New York, New York.



                                                       /s/ Jonathan L. Flaxer
                                                       JONATHAN L. FLAXER




                                                  5
1934816.1
